              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       CHARLOTTE DIVISION
           CRIMINAL ACTION NO. 1:15-cr-00005-MR-WCM


UNITED STATES OF AMERICA,               )
                                        )
            Plaintiff,                  )
                                        )
vs.                                     )     ORDER
                                        )
                                        )
JOHN MICHAEL AWTREY,                    )
                                        )
            Defendant.                  )
                                        )



      THIS MATTER is before the Court on the Government’s Motion to

Authorize Payment from Inmate Trust Account. [Doc. 58]. The Defendant

has not responded to the Government's motion.

                             BACKGROUND

      The Defendant John Michael Awtrey was found guilty of Distribution,

Receipt and Possession of Child Pornography, in violation of 18 U.S.C. §§

2252A(a)(2) and 2252A(a)(5)(B). [Doc. 34: Verdict]. On June 2, 2016, this

Court sentenced him to a total of one hundred and fifty (150) months’

imprisonment, and a lifetime of supervised release. [Doc. 43: Judgment at

2]. This Court also ordered him to pay a $300.00 special assessment and



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$15,000.00 in restitution. [Id. at 6]. According to the Government, to date,

he has paid the special assessment and $175.00 towards restitution. [Doc.

58-1 at 1]. He remains in federal custody and is currently incarcerated at

FCI Ashland. His projected release date is June 16, 2024.1

         The current balance of Defendant’s restitution debt is $14,825.00. The

United States Attorney’s Office recently learned that he currently has

$1,346.97 in his inmate trust account maintained by the Bureau of Prisons

(“BOP”). The United States moves for entry of an order authorizing the BOP

to turn over $1,146.97 of the funds held in Defendant’s inmate trust account

to the Clerk of Court as payment toward the restitution owed to the victims

of Defendant’s crime. [Doc. 58].

                                     DISCUSSION

         Title 18, United States Code, section 3613 sets out procedures for the

United States to enforce criminal monetary penalties, including restitution

and fines. See 18 U.S.C. §§ 3613(a) and (f). Pursuant to 18 U.S.C. §

3613(c), upon entry of judgment, a lien arises against all of the defendant’s

property and rights to property, including the defendant’s interest in funds

held by the BOP in his inmate trust account. See 18 U.S.C. § 3613(a) (United




1   See https://www.bop.gov/inmateloc/ (last accessed Oct. 17, 2021).

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States may enforce restitution against all property and rights to property of

the defendant).

      The Mandatory Victims Restitution Act (“MVRA”) permits the United

States to use “all other available and reasonable means” to collect restitution.

See 18 U.S.C. § 3664(m)(1)(A)(ii).        The MVRA also requires that a

defendant’s substantial resources received from any source during his term

of incarceration be applied to his outstanding restitution obligation. See 18

U.S.C. § 3664(n). The MVRA further authorizes the Court to order payment

of a restitution obligation upon notice of a material change in a defendant’s

economic circumstances that affects his ability to pay restitution “as the

interests of justice require.” See 18 U.S.C. § 3664(k).

      The funds at issue currently are in the Government's possession, and

the Government has a valid lien over this property. Further, because the

property at issue is cash, it does not fall within any applicable categories of

the exempt property that a defendant may claim in a criminal case. See 18

U.S.C. § 3613(a)(1) (setting forth the applicable IRS property exemptions for

criminal cases). Thus, the Court concludes that an order authorizing the

turnover of the Defendant's property is appropriate here.

      IT IS, THEREFORE, ORDERED that the Government's Motion to

Authorize Payment from Inmate Trust Account [Doc. 58] is GRANTED, and


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the Bureau of Prisons is hereby authorized to turn over to the Clerk of Court

funds in the amount of $1,146.97 held in the inmate trust account for the

Defendant as payment for the criminal monetary penalties imposed in this

case.

        IT IS SO ORDERED.
                         Signed: October 26, 2021




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